  4:06-cv-03307-RGK-DLP Doc # 13 Filed: 02/28/07 Page 1 of 1 - Page ID # 32



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

JOSHUA M. WOODLE,                   )
                                    )
                 Plaintiff,         )                4:06CV3307
                                    )
           v.                       )
                                    )
STEPHEN J. MCTIGUE and              )                   ORDER
CONNIE R. MCTIGUE,                  )
                                    )
                 Defendants.        )
                                    )


     IT IS ORDERED:

     Defendants’ unopposed oral motion for additional time is
granted and the deadline for filing the parties’ Rule 26 planning
report is extended to March 21, 2007.

     DATED this 28th day of February, 2007.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
